B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Ohio

Sherry Lynn King

ln re fka Sherry Lynn Wa||ace , Case No. 1:17-bk-13076

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under ll U.S.C. § llll(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank Trust Nationa| Association, as Trustee of U.S. Bank Trust Nationa| Association as Trustee of Cha|et
the Tiki Series ||| Trust Series ||| Trust
Name of Transferee Name of Transferor
Name and Address Where notices to transferee Court Claim # (if known): 2-2
should be sent: Amount of Claim: $1 13,036-37
c/o SN Servicing Corporation pate Claim Filed; 04/05/2017

323 Fifth Street
Eureka, CA 95501

Phone; 800-603-0836 Phone:
Last Four Digits of Acct #: L Last Four Digits of Acct. #: 4592

 

 

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By; /S/ MOlly Slufsky SimOnS Date: 04/19/2019
Transferee/Transferee’s Agent

 

 

Penaltyfor making a false statement Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

